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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION

J.O.P., etal,
Plaintiffs,
Case No. 8:19-cv-01944-SAG

Vv.

U.S. DEPARTMENT OF HOMELAND
SECURITY, ef al.

Defendants.

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DEFENDANTS’ STATUS REPORT IN REPONSE TO THE COURT’S

JUNE 5, 2025 ORDER

Pursuant to this Court’s June 5, 2025, Order directing Defendants to file a weekly status
report in the form of “a declaration from an individual with personal knowledge” addressing: (1)
Cristian’s current physical location and custodial status; (2) what steps, if any, Defendants have
taken to facilitate Cristian’s return to the United States; and (3) what additional steps Defendants
will take, and when, to facilitate Cristian’s return;” and May 28, 2025 Order, see ECF Nos. 280
and 287, Defendants submit the Declaration of Acting Deputy Executive Associate Director
Mellissa B. Harper, attached to this filing as Exhibit A. Due to conflicting emergency operational
duties, Acting Deputy Executive Associate Director Harper was unable to finalize the declaration
within the timeframe between receiving the information from the U.S. Department of State and
the filing deadline of 12:00 PM ET. Defendants regret the delay and inconvenience caused to the
Court and Class Counsel.

Hf
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Dated: June 20, 2025 Respectfully submitted,

BRETT A. SHUMATE
Assistant Attorney General
Civil Division

WILLIAM C, PEACHEY
Director
Office of Immigration Litigation

YAMILETH G. DAVILA
Assistant Director

Kelark A. Habashi
Trial Attorney

/s/Erhan Bedestani

ERHAN BEDESTANI

Trial Attorney (MN Bar No. 0504824)
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Attorneys for Defendants
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CERTIFICATE OF SERVICE

I hereby certify that on June 20, 2025, I served a copy of the foregoing on counsel for

Plaintiffs via the Court’s CM/ECF e-filing system.

(s/ Erhan Bedestani

Erhan Bedestani (MN Bar 0504824)
Trial Attorney

United States Department of Justice
Civil Division

Office of Immigration Litigation

Attorney for Defendants
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EXHIBIT A
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Southern Division)

J.O.P., et al,
Plaintiffs,
Vv.
8:19-CV-01944-SAG
U.S. DEPARTMENT OF Declaration of .
HOMELAND SECURITY, et al, Acting Deputy Executive
Associate Director
Defendants. Mellissa B. Harper

DECLARATION OF MELLISSA B. HARPER
I, Mellissa B. Harper, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

1. Tam currently employed by the U.S. Department of Homeland Security (DHS),
U.S. Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations
(ERO) as the Acting Deputy Executive Associate Director (A)D-EAD. I have held this position
since May 29, 2025.

2. As (A)D-EAD, I oversee the mission of ERO’s eight headquarters divisions:
Enforcement, Removal, Non-Detained Management, Custody Management, Field Operations,
ICE Health Service Corps, Law Enforcement Systems and Analysis, and Operations Support.

3. I am aware of the court’s order in J.O.P. v. Department of Homeland
Security, ECF No. 254, which orders the Defendants to facilitate the return of an alien with
the pseudonym Cristian. I am also aware of ECF No. 293, which orders the Defendants to
file weekly status reports in the form of a declaration.

4, DOS is the agency of the United States Government responsible for high-
level diplomatic discussions.

5. DHS has informed the U.S. Department of State (DOS) of the Court’s order
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and requested DOS assistance in complying with the Court’s order, including by entering
into negotiations to facilitate Cristian’s return. DOS has acknowledged the request.

6. Given the nature of the diplomatic discussions necessitated by the court’s
order to facilitate Cristian’s return to the United States, which would involve engagement
with the highest levels of the Salvadoran government, and as conveyed to you previously,
the State Department including in country Embassy officials has assumed responsibility on
behalf of the U.S. Government for these diplomatic discussions with El Salvador.

7. The Embassy remains in communication with the Government of El Salvador
but has not received an additional update this week regarding the custodial status and health

of Cristian.

I declare, under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief, as of the time of signature.

Executed this 20th day of June 2025.

Digitally signed by MELLISSA
MELLISSA B _ istallysianes by me

Date: 2025.06.20 12:50:3
HARPER Pte 20250520 12509

Mellissa B. Harper

Acting Deputy Executive Associate Director
Enforcement and Removal Operations

U.S. Immigration and Customs Enforcement
U.S. Department of Homeland Security
